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          GOOGLE LLC’S
         ADMINISTRATIVE
           MOTION TO
          SUPPLEMENT
           MOTION FOR
             RELIEF
           REGARDING
         PRESERVATION

          Redacted Version
            of Document
               Sought
            to be Sealed
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19
                                UNITED STATES DISTRICT COURT
20                            NORTHERN DISTRICT OF CALIFORNIA
                                     OAKLAND DIVISION
21
      PATRICK CALHOUN, et al., on behalf of           Case No. 4:20-cv-05146-YGR-SVK
22    themselves and all others similarly situated,
                                                      GOOGLE   LLC’S  ADMINISTRATIVE
23           Plaintiffs,                              MOTION TO SUPPLEMENT MOTION
                                                      FOR      RELIEF     REGARDING
24                                                    PRESERVATION
             v.
25                                                    Referral: Hon. Susan van Keulen, USMJ
      GOOGLE LLC,                                     Hearing Date: January 10, 2023
26                                                    Time: 10:00 a.m.
             Defendant.                               Crtrm.: 6 – 4th Floor
27

28
                                                              Case No. 4:20-cv-05146-YGR-SVK
           GOOGLE LLC’S ADMINISTRATIVE MOTION TO SUPPLEMENT MOTION FOR RELIEF REGARDING
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 1             Pursuant to Civil Local Rule 7-11, Google LLC (“Google”) files this administrative motion
 2 to supplement its Motion for Relief Regarding Preservation filed on October 27, 2022 (“Motion”)

 3 (Dkt. 879-3), which seeks relief from (i) ongoing implementation of field-based GAIA                  and
 4 ZWBK                 preservation, and (ii) preservation of                      linking tables and
 5 Analytics mapping tables.

 6             In the original Motion, Google explained that to implement the field-based
 7 preservation, Google engineers had been working to design and build entirely new pipelines to (1)

 8 extract data from every column that potentially contains one or more of the specified fields, (2) filter

 9 the data to the required fields and by geography, and (3) write the filtered data to a new storage

10 location for preservation; and that as of the date of the motion, Google engineers had accomplished

11 (1) and (3) above but had not been able to filter by field or geography. Dkt. 897-3 at 7.

12             Since the filing of the original Motion, Google engineers have managed to: (1) filter the data
13 to the required fields for a subset of the            columns that contain one or more of the specified
14 fields for field-based preservation, and (2) filtered the data to only U.S. users, which has reduced

15 the estimated daily average of new data written to the preservation pipelines from                      to
16 approximately                     .1 However, as explained in the original Motion, see id. at 8, even with
17 the data filtered by field and geography, the burdens of the field-based           preservation continue
18 to be immense. For a single day of preservation, it amounts to the equivalent of

19

20                                         .2 As the tables below demonstrate, the field-based preservation
21 would still require enormous amounts of data storage at a staggering cost, which is in addition to

22 the other preservation costs Google is already incurring:

23 Table 1

24

25

26
     1
         At the Court’s request, Google is prepared to submit a supplemental factual declaration.
     2
27

28
                                                 1              Case No. 4:20-cv-05146-YGR-SVK
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 1       Preservation task      Estimated data after Estimated data after         Estimated data after
                                one year ( )         two years ( )                three years ( )
 2

 3
         All Other
 4       Preservation Tasks
 5       (excluding relief
         sought)
 6
     Table 2
 7
         Preservation task     Approximate total       Approximate total        Approximate total
 8                             cost after one year     cost after two years     cost after three years
                 Field-
 9       Based Preservation
10       All Other
         Preservation Tasks
11       (excluding relief
         sought)
12

13
               For the reasons stated here and in the original Motion, Google respectfully requests that the
14
     Court grant Google’s Motion for Relief re: Preservation.
15

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     DATED: November 29, 2022                      QUINN EMANUEL URQUHART &
17                                                 SULLIVAN, LLP
                                                    By     /s/ Andrew H. Schapiro
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     3
                                    See Dkt. 897-8 (Quaid Decl.) ¶ 9 (“Based on test runs that we have
21 completed to date of the column-of-interest preservation pipelines in GAIA              and ZWBK
           they will require approximately                to store existing data and                to
22 store new data written daily into the pipelines.”).

23
       See Dkt. 897-3 at 6.
     7
24     Id.
     8
       Id.
     9
25     See Dkt. 897-4 (Greenfield Decl.) at 12, 15 (describing calculations used to generate cost estimates
     for field-based          preservation). At the Court’s request, Google is prepared to submit a
26   supplemental factual declaration.
     10
        Id.
     11
27      Id.
     12
        See Dkt. 897-3 at 7.
     13
28      Id.
     14
        Id.                                             2                    Case No. 4:20-cv-05146-YGR-SVK
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                                                                             PRESERVATION
